    Case 2:20-cv-12230-PDB-EAS ECF No. 44-3, PageID.1240 Filed 12/30/20 Page 1 of 4
                                                                                     1



Name                                    Address                                   new owner                     SNR Position on Prop   Resell Price
 ERMIAS WAKJRA                        15610 Stone Crossing Dr                   .98 acres                       still held by snr
Cecil & Mariam Hudson                 16189 Templar Cir                                                                                               222,000
Coretha & Curtis Lee                  16412 Stratford                                                                                                 155,000
Dorothy Sligh                         17114 morrison St                                                                                               215000
Louis Jackson                         17245 Louise
Ms nicky                              17299 Bonstelle                                                                                                 229,000
Adam Ratcliff                         17350 Roseland                                                                                                  108000
Marion Sinclair                       17357 new Hampshire
Serenus Pope                          17512 Cornell                                                                                                   199900
Reginald C Collins                    17540 Roxbury Ave                                                                                               135000
Mrs Carolyn Miller                    17600 George Washington                                                                                         120,000
Dorothy Russaw                        18425 Westhampton Dr                                                                                            175,000
Estate of Demetria D Davis            18435 Dorset                                                                                                    225,000
Frank and Barbara Love                18925 Adrian St                                                                                                 187,000
Ronda & Mia Gray                      19026 Melrose Ave                                                                                                15,100
kristina Govan                        19095 Hilton .266 acres                                                   still held by snr
Fredericka & James Holley             19246 Greenwald                                                                                                 185,000
Lee & Gayle Craft (Jackson no)        19435 W. 9 Mile                           Atty Smith Client               still held by snr
Rayford/Moreno/mario Frye             19470 Goldwin Dr                                                                                                  7500
Carlas Rogers                         19474 Midway
Richard Wolfe                         19574 Melrose Ave                                                                                               154,000
Valencia Cohen                        19630 jeanette                                                                                                  130,000
Robert & Dolore White (Dolores???)    19650 Dorset                                                                                                    149,000
Latrice Ellis                         19780 Mahon                               JKLM REAL ESTATE                                                        7,500
Patrice Robinson                      19800 Cherry Hill Lane
Yiousif M & WF Seman                  20059 beechaven St                        ARLISHEA M WASHINGTON                                                 250000
Lester J Le Vasseur                   20105 LedgeStone St                                                                                             190,000
DE LEON SARAH ELIZABETH               20119 Woodburn                                                                                                   90000
??? Get from toby                     20199 Westhampton
SCHEER, ALASTAIR                      20219 Westland                                                                                                   90000
HORN, JAMES & PAULETTE                20402 Melrose                                                                                                    64000
CITADEL APPRAISAL GROUP LLC bought in 2014
                                      20425 Westland Dr                                                         still held by snr
WARSAW, ALAN & LHISA                  20426 LaCrosse                                                                                                  184,900
SCHEER, ALASTAIR                      20433 Westland .4 acres                                                   still held by snr
SAMET, JOSEPH                         20455 Westover                                                                                                   75,000
 KEYCIA WRIGHT; TODD VANDERHOEF       20500 Melrose St                                                                                                 85000
HAYES, ALLYSA S                       20506 Westhampton Ave                                                     still held by snr
 BRANDON R KLECKLEY                   20511 WEsthampton                                                                                               162,000
                                      20559 Beechaven LOOKUP IN COUNTY RECORDS
 PARRISH GRASSEL,                     20562 Westhaven                                                           still held by snr
 ALASTAIR SCHEER,                     20640 Westland Dr                                                                                                89,000
 CHERYL A. WILLIAMS-KEARNEY           20691 Westover                                                                                                   13,913
CHOPPER61 LLC                         20816 Delaware                            Linda Mitchell                                                         74,000
JAMIL A JAMALEDDINE                   20820 Westhampton                                                                                                15,999
 MARIE SANDERS, SILVER CAPITAL GROUP LLC
                                      20860
                                         (last)
                                             Secluded Lane                                                      still held by snr
SIMPLY CONSTRUCTION & EXCAVATING LL20905 Mapleridge Ave                                                         still held by snr
 CORA M MCBRIDE,                      20910 Westover                                                            still held by snr
PENNY MAC LOAN SVCS, LLC              20917 Delaware                                                                                                  100,000
 ERIC & GLORIA HARDY,                 20935 Westhampton Ave                                                                                            80,000
 ERIC & GLORIA HARDY                  20945 Westhampton Ave                                                                                            83,000
KEYON A DICKERSON                     20966 Evergreen .5 acres                                                                                        120,000
 ALEXANDER & GUADALUPE SZILAGYI       20977 Avon Ln                                                                                                    50000
????? Maybe wrong address             20977 Woodburn
Malik Fuqua - SMFJ, LLC               20999 Mcclung                                                                                                    40,000
 NICHOLAS & JILL KUMMER               21110 Van Buren St                        Sold to habitat - then resold                                         115,000
ATKINS, BRENT DION                    21120 Midway                                                              still held by snr
 CLAUDE/DAVID GREENIA                 21126 Stahelin Rd                                                         still held by snr
Michael C. Birac                      21211 Sfield                              lawsuit -birac no jackson PL    still held by snr
 JIMMIE STEVENS                       21270 8 1/2 Mile .4 acres                                                 still held by snr
C STEWART                             21315 Frazer Ave                          HP Snap Investment                                                     17500
SEAN SIMMONS (Son of Catherine Simmons)
                                      21346 Inkster                                                             still held by snr
ANTHONY & WILLIE HALL                 21373 Stahelin Rd                         Habitat for $1                                                              1
 WILLIAM E & SUZANN RALSTON           21451 Wallace Dr                                                                                                109,000
DAVID W ROLAND                        21557 Stahelin (New addr? Donna Roland) Penny Folkes                                                            185,000
 DEBBIE BYERS                         21666 Hidden River Dr                                                     still held by snr
 RUTH COPELAND                        21700 W. 10 Mile                          SOLD TO ZMD CONSTR, LLC                                                10,000
, ROLAND & CAMILLA BOWMAN-PORTER 21749 W 8 1/2 Mile                             Eric & Rebecca Whitney                                                132000
FRED & MARGARET SIBERT                21870 Maplewood Dr                        Daniel Easterday                                                      235,000
 MARK & DEBBIE BAKSHI                 21909 Carleton Ave                                                        still held by snr
COULD NOT FINd???? (Toby)             22037 Poinciana (Could not find ???) Toby
 JOANNA JONES                         22133 Keefer St                                                           still held by snr
SFS TAX SERVICES LLC                  22505 Beech Rd .6 acres                   JKLM Real Estate no????                                                 7500
Mr. Hayes' property                   22946 N. Bellwood Dr                      Jackson lawsuit                 still held by snr
 KELLY MAHONEY                        23118 Plumbrooke                                                                                                180000
    Case 2:20-cv-12230-PDB-EAS ECF No. 44-3, PageID.1241 Filed 12/30/20 Page 2 of 4
                                                                                           2



Corolyn Williams                         23212 Grayson Dr, Unit 180                                                                                         77,500
 HAKEEM LOWRY                            23266 E. Ranch hill Dr                       lawsuit + lis pendens                   still held by snr
 NICHELLE KIRKSEY                        23330 Edinburgh St                                                                   still held by snr
 ERIC & GLORIA HARDY                     23381 Telegraph                              D4Holdings, LLC????                                                  150,000
????? Same as above address              23381 Telegraph
navarro & Kimberly hodge                 23426 Lee Baker Dr                                                                                                 18,170
Ken Taylor - fed lawsuit-lis pendens     23620 Oliver Ct                              worth $205K                             still held by snr
Sandra Barshtz                           23777 Village House Dr, Apt 6a                                                                                     77,250
SODORE LLC                               24011 Greenfield                             Tewodross Fesseha                       still held by snr
 KENNETH & MARILYN STANFORD              24065 Rockingham St                                                                  still held by snr
 DONALD E SWINNEY AND WORTLEY, NAQU      24175 Lee Baker Dr                           resold Walter Veazey                                                 175,000
 CAROLYN HEART-RICHARDSON                24210 Mulberry Dr                            FED, MACON III & HUGLEY, NATASHA                                     300,000
ARAMAIS MOLOIAN                          24273 Lois Lane                              WRIGHT, ALLEN JR - new owner                                         240,900
??? Could not find                       24505 Lafayette Cir
 IRENE WASKE                             24566 Southfield Rds ???? Zorn connect??? WYANDOTTE PROFESSIONAL BLDG II LLC                                      300000
The Halls (Tawanda???)                   24650 Martha Washington                      fed lawsuit ????                        still held by snr
Alma Williamson                          24728 Pierce St                              NETTLES, MARK & KERI                                                 158,000
JPMC SPECIALTY MORTGAGE LLC              24903 Lois Lane                                                                      still held by snr
John Edwards' Property                   25055 W 10 Mile rd                           Lis Pendens - fede lawsuit              still held by snr
EAH PROPERTY MANAGEMENT, LLC - hodge     25360 Shiawassee Cir, 201                    America Douglas-Whitaker                                              75,000
Sandra Church - Peaches                  25540 Southwood Dr                           moshe/Jenni Freedman                                                 260,000
 GENEVIEVE STOFER                        25870 W. 9 mile rd                           JKLM Real Estate no????                                                7500
John Edwards' Property                   25927 McAllister                                                                                                  149,900
ZRT HOLDINGS LLC                         27070 Shiawassee Rd (Mr Hodges prop???) JKLM REAL ESTATE                                                            5000
Renee Hassan .19 acres                   27120 Shagbark Dr                            AARON BROOKS, JR                                                     150,000
Richard K. Hutchinson                    27129 Shagbark Dr                            Alice V Dugan????                       121K & 142K                  121000
Kevin Christensen                        27150 W 12 Mile 2.8 acres                    Governor's Conf Cntr, LLC.                                           390,000
SHEILA MAXWELL                           27645 Dover St                               latisha Moore                                                        235,000
 DEBBIE BAKSHI                           28049 Sutherland                             Erin Lee Faye                                                        102,500
JATTA, BUBACARR                          28055 Red Leaf Lane                          Brenda Edmonson                                                      100,000
Darlene Williams                         28091 Glasgow                                JKLM Real Estate no????                                                7,500
Jason A Gillium                          28247 E. Larkmoor Dr                         KA, MOUNIRU & DIEYE-EP-KA,YAYE N                                     190,000
MICHAEL/JOANNE GRAVES                    28429 Stuart                                  KADEJA ROBERTS                                                       95,000
 RICHARD HUTCHINSON,                     28451 Glasgow St                             NATALIE C GRAMONT (New Owner)                                        105,000
CORA DOZIER                              28492 Aberdeen st                                                                    still held by snr
 JOHN MC GILL                            28590 marshall                               Jamil Gaston (New owner)                                             104,900
Lisa Smith                               28619 N. Regent Ct                           lawsuit - Jackson no lis pendens        still held by snr
28784 SUTHERLAND LLC (jeremy Burgess?)28784 Sutherland St                                                                     still held by snr
Christina d Weinhaus                     29496 Fairfax                                                                                                     147,000
Sharron Rose                             29555 Heritage Lane                          knows mayor                             still held by snr
Aida Brown??? Unclear - Toby check       29595 Meadowlane Dr                          ???                                                                        0
Mary Ingram (Bankruptcy - got back)      29766 Everett                                                                                                           0
ANTHONY/FOLAKE AKANDE                    29800 Chelmsford                             katie Mcdowell/Katie Greenfield                                      152,500
Stefanie Boyd                            30280 Woodgate Dr                            part of Jackson lawsuit                 still held by snr
Dell Johnson (fed lawsuit -lis pendens)  5000 Town Center, Unit 1304                                                          still held by snr
76 24 08 302 014                         Vacant - Special Asset mgmt Group, LLC 1.9 acres
                                                                                      Farmbrook Dev LLC                                                     12,000
76 24 26 301 030                         Jonathon M Ellison Lee Baker Dr (Vacant) .4 acres
                                                                                      JKLM REAL ESTATE                                                       7,500
76 24 24 176 010                         meadowland (Vacant) .4 acres SYLLA, MCMULLEN ZOHONON                                 still held by snr
76 24 19 301 017                         Ormand Dr Vacant - 2 acres SNR ( TEWODROS FESSEHA)                                   still held by snr
76 24 27 351 052                         Russell Rd (Vacant) nickolas Jennings        21212 w 9 mile
76 24 13 204 014                         Selkirk (Vacant) .28 acres                   YAN LI/Eastland Prop & Inv, LLC) (former no)
76 24 30 302 016 Sally Mae Fuller        Staunton Rd (Vacant)                         JKLM Real Estate no? .6 acres                                         10,000
76 24 30 351 023                         Staunton Rd (Vacant)                         SNR 1.6 acres                           still held by snr
76 24 24 126 022                         w. 11 Mile rd                                THOMAS JACKSON .5 acres                 still held by snr
76 24 27 351 052 ??? (not accurate - shows
                                         W.nothing)
                                            9 Mile Rd (Vacant)                        lookup w county records
76 24 34 454 017                         Westhaven + 1/2 Vacant Alley .104 acres      AMMAR SABRI                             still held by snr            9390933
                                                                                                                                                  $   9,390,933.00

notes
SNR Profits to Date = $7,361,842
Remaining props = 37 ($5.5 mill)
JKLM PROPS (10) $2 mill
HABITAT HOUSES(8) $1.6 million
Other with Wyandotte Connections 4 $1.2 mill
In Litigation 15 ($3.75 mill)
HP Snap Investments (3)
   Case 2:20-cv-12230-PDB-EAS ECF No. 44-3, PageID.1242 Filed 12/30/20 Page 3 of 4
                                                                   3



Date taken                Date purchased        NRI PRICE
              6/16/2019             7/12/2012               1.00
               2/8/2017             3/28/2019               1.00
               2/3/2016                                     1.00
               2/8/2017             5/31/2018               1.00
              7/31/2017                                     1.00
               7/7/2016            10/23/2019               1.00
               2/3/2016             1/25/2018               1.00
                                     7/7/2016               1.00
              7/31/2017             3/26/2019               1.00
               7/7/2016             8/31/2017               1.00
               7/7/2016             1/17/2018               1.00
              6/29/2018             9/20/2019               1.00
              7/31/2017             7/29/2019               1.00
               7/7/2016              3/9/2018               1.00
              6/29/2018                                     1.00
              7/31/2017                                     1.00
                                     4/8/2019               1.00
              7/31/2017                                     1.00
              7/31/2017                                     1.00
              7/31/2017                                     1.00
              6/29/2018             12/9/2019               1.00
               7/7/2016            10/23/2017               1.00
              7/31/2017             8/24/2018               1.00
              7/31/2016            10/25/2019               1.00
              2/14/2018                                     1.00
               7/7/2016             8/25/2017               1.00
              7/31/2017              6/8/2019               1.00
               2/3/2016             8/23/2017               1.00
                                                            1.00
              12/5/2018              2/8/2017               1.00
               1/3/2018              7/7/2016               1.00
                                    6/29/2018               1.00
             12/27/2017              7/7/2016               1.00
                                     2/8/2017               1.00
              1/12/2018              7/7/2016               1.00
             12/30/2019                  2018               1.00
                                    3/25/2019               1.00
              1/13/2020              7/7/2016               1.00

                                    7/31/2017               1.00
               2/8/2019             7/31/2017               1.00
              9/17/2019              7/7/2016               1.00
               8/8/2017              7/7/2016               1.00
              9/17/2019             7/31/2017               1.00
                                    6/29/2018               1.00
                                    7/16/2019               1.00
                                    7/31/2017               1.00
               6/5/2018             7/31/2017               1.00
               6/1/2018             7/31/2017               1.00
              5/31/2018             7/31/2017               1.00
               6/7/2019             7/31/2017               1.00
              8/23/2017              7/7/2016               1.00
                                                            1.00
              8/24/2018              7/7/2016               1.00
               2/4/2018              7/7/2016               1.00
                                     2/8/2017               1.00
                                     7/7/2016               1.00
                                    7/31/2017               1.00
                                    3/25/2019               1.00
               4/8/2019             6/29/2018               1.00
                                    7/31/2017               1.00
              9/17/2019             7/31/2017               1.00
               3/8/2019             7/31/2017               1.00
              4/30/2019             7/31/2017               1.00
                                    2/14/2018               1.00
             11/20/2019              7/7/2016               1.00
               6/3/2019             7/31/2017               1.00
             11/18/2019             7/31/2017               1.00
                                    6/29/2018               1.00
                                                            1.00
                                    6/29/2018               1.00
             10/25/2019             7/31/2017               1.00
                                     7/7/2016               1.00
             10/28/2018             7/31/2017               1.00
Case 2:20-cv-12230-PDB-EAS ECF No. 44-3, PageID.1243 Filed 12/30/20 Page 4 of 4
                                       4



      5/12/2017    7/7/2016     1.00
                  7/31/2017     1.00
                  6/29/2018     1.00
       3/5/2019   7/31/2017     1.00
                                1.00
      5/31/2019   6/29/2018     1.00
                  7/31/2017     1.00
      7/25/2017    7/7/2016     1.00
                  7/16/2019     1.00
                  6/29/2018     1.00
      1/16/2018    7/7/2016     1.00
       6/7/2019   6/29/2018     1.00
     12/20/2019   7/31/2017     1.00
                                1.00
       4/8/2019   6/29/2018     1.00
                  6/29/2018     1.00
      5/22/2018    2/3/2016     1.00
                   2/8/2017     1.00
                   7/7/2016     1.00
     11/27/2019   7/31/2017     1.00
       6/4/2018    7/7/2016     1.00
     10/25/2019   6/29/2018     1.00
       8/9/2018    7/7/2016     1.00
     10/25/2019   6/29/2018     1.00
      10/3/2019   6/29/2017     1.00
                   7/7/2016     1.00
      1/26/2018   7/31/2017     1.00
      1/10/2020   6/29/2018     1.00
      10/5/2018    7/7/2016     1.00
      9/11/2017    7/7/2016     1.00
     10/25/2019   7/31/2017     1.00
      12/2/2019   7/31/2017     1.00
       8/8/2017    7/7/2016     1.00
     11/30/2017    7/7/2016     1.00
                   2/4/2018     1.00
      8/31/2017    7/7/2016     1.00
                  7/31/2017     1.00
                  6/29/2018     1.00
      9/13/2019   6/29/2018     1.00
                  7/31/2017     1.00
      3/28/2017    7/7/2016     1.00
      3/28/2017    7/7/2016     1.00
       1/5/2018    7/7/2016     1.00
                  7/31/2017     1.00
                   2/8/2017     1.00
      8/22/2019   6/29/2018     1.00
     10/25/2019   9/27/2018     1.00
                  6/29/2018     1.00
                  6/29/2018     1.00
                                1.00
                                1.00
     10/25/2019   6/29/2018     1.00
                  6/19/2018     1.00
                  6/29/2018     1.00
                                1.00
                  6/29/2018     1.00
